Case 7:19-mj-OO7OO Document 1 Filed on 03/27/19 in TXSD Page 1 of 1 /

 

 

 

 

Ao 91 (Rev s/ol) crimin.a compmm , United States D' riot Court
. ' . b ` FILED
Umted States Dlstr`lct Court MAR 2 7" 2019 .
SOUTHERN DISTRICT OF TEXAS
\ ' MCALLEN DIVI SION David J- Bradley, clerk
UNITED STATES OF AMERICA ' .
V' CRIMINAL COMPLAINT

Andres Martinez-Granados '
Case Number: M-19- 0 700-M

lAE YOB: 1982
Mexi co
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about March 26, 2019 in Starr COunty, in

the Southern District of Texas
(Track Statutory Language of U/j”ense)

being then and there an alien who had previously been deported from the United States to Mexico in pursuance of law, and thereafter
was found near Roma, Texas, within the Southern District of Texas, the Attorney General of the United States and/or the Secretary of
~‘Homeland Security, not theretofore having consented to a reapplication by the defendant for admission into the United States;

in violation of Title 8 United States Code, Section(s) 1326 (Felony)
I further state that I am a(n) Seni_or Patrol Agent and that this complaint is based on the

following facts: )

Andres Martinez-Granados was encountered by Border Patrol Agents near Roma, Texas on March 26, 2019. The investigating agent
established that the Defendant was an undocumented alien and requested record checks. The Defendant claims to have illegally entered
the United States on March 25, 2019, near Roma, Texas. Record checks revealed the Defendant was formally Deported/Excluded from
the United States on July 25, 2011 through Hidalgo, Texas. Prior to Deportation/Exclusion the Defendant was instructed not to return
to the United States without permission from the U.S. Attorney General and/or the Secretary of Homeland Security. On February 25,
2011, the defendant was convicted of 8 USC 1326, Being found in the U.S. after previous deportation and sentenced to ten (10) months
confinement.

 

    

 

 

l
Continued on the attached sheet and made a part of this complaint |:|Yes No
approval L., !¢»H |/ G,¢¢~sm.~l ? /w/l 9
b this (/_. /74,,(,,£.,/- ) AL‘;'A"
Sworn to before me and subscribed in my presence, ` Signature o&o mant
March 27, 2019 z " le/M Ernie r ollo Senior Patro| Agent

Peter E. Ormsby , U.S. Magistrate Judge /Z’U%'“'/(?

Name and Title of Judicia| Officer Signature of Judicia| officer

 

